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 6                        UNITED STATES DISTRICT COURT
 7                            DISTRICT OF ARIZONA

 8                                                  Case No:
 9
     FERNANDO GASTELUM,                               VERIFIED COMPLAINT
10
11                                     Plaintiff,          1. Americans with
                                                              Disabilities Act
12
13                       vs.                                   2. Negligence

14   SHIVANI SSS, LLC dba Roadway Inn                 JURY TRIAL REQUESTED
15   Downtown Phoenix

16                                   Defendant.
17
18                                   INTRODUCTION
19   1. Plaintiff brings this action pursuant to the Americans with Disabilities Act, 42
20      U.S.C. §12101 et seq. and corresponding regulations, 28 CFR Part 36 and
21
        Department of Justice Standards for Accessible Design (“ADA”).
22
23   2. Plaintiff’s left leg is amputated below the knee. Plaintiff moves with the aid of
24      a wheelchair or a prosthetic leg. Plaintiff suffers from a disability as this term
25
        is defined in 42 U.S.C. 12102 and 28 CFR §36.105 (c)(1)(i) which includes,
26
27      inter alia, “walking, standing, sitting, reaching, lifting [and] bending” and other
28
 1      activities. A partial missing limb “substantially limit[s] musculoskeletal

 2      function” as a matter of law. 28 CFR § 36.105 (d)(2)(iii)(D).
 3
     3. Plaintiff is constantly and relentlessly segregated and discriminated against,
 4
 5      excluded, denied equal services, or otherwise treated differently than other

 6      individuals because of his disability, and has been denied the opportunity to
 7
        participate in or benefit from services, facilities and opportunities available
 8
 9      people without disabilities.

10   4. Plaintiff incorporates herein Congressional Findings and Purpose set forth in 42
11
        U.S.C. §12-101 and 28 CFR §36.101.
12
13   5. Plaintiff is being subjected to discrimination on the basis of disability in

14      violation of Subchapter III of the Americans with Disabilities Act or has
15
        reasonable ground to believe that that he is about to be subjected to
16
17      discrimination in violation of 42 U.S.C. §12183.
18   6. Plaintiff alleges that he has actual notice that Defendant has failed to comply
19
        with Subchapter III of the ADA, 28 CFR 36 and the 2010 Standards of
20
21      Accessibility Design (“2010 Standards”) as more fully alleged below.
22   7. Plaintiff alleges that he has no obligation to engage in futile gestures as
23
        referenced in 42 U.S.C. §12188(A)(1) and 28 C.F.R. Subpart E
24
25   8. Defendant has discriminated against Plaintiff by the following actions and
26      failures to act –
27
28

                                           2
 1      a. Failing to make reasonable modifications in policies, practices, or

 2         procedures which are necessary to afford Plaintiff and others similarly
 3
           situated accessibility to Defendant’s place of public accommodation, thus
 4
 5         violating 42 U.S.C. §12182(b)(2)(A)(ii) and 28 C.F.R. §36.302(a); and

 6      b. Failing to take such steps as may be necessary to ensure that no individual
 7
           with a disability is excluded, denied services, segregated or otherwise treated
 8
 9         differently than other individuals because of the absence of auxiliary aids

10         and services, thus violating 42 U.S.C. §12182(b)(2)(A)(iii); and
11
        c. Failing to remove architectural barriers where such removal is readily
12
13         achievable, thus violating 42 U.S.C. §12182(b)(2)(A)(iii), 28 CFR 36 and

14         the 2010 Standards..
15
                                         PARTIES
16
17   9. Plaintiff is a disabled person and a committed individual to advance the time
18      when places of public accommodations will be compliant with the ADA.
19
     10. Plaintiff’s disability includes the amputation of the left leg below the knee.
20
21      Plaintiff moves with the use of a wheelchair, walker and/or a prostethis.
22   11. Defendant SHIVANI SSS, LLC dba Roadway Inn Downtown Phoenix owns
23
        and/or operates hotel at 402 West Van Buren Street in Phoenix, AZ
24
25      85003 which is a public accommodation pursuant to 42 U.S.C. § 12181(7)(A)
26      which offers public lodging services See 28 CFR §36.104 and a listing of public
27
        accommodations in 42 U.S.C. §12181(7).
28

                                            3
 1                                    JURISDICTION

 2   12. District Court has jurisdiction over this case or controversy by virtue of 28
 3
        U.S.C. §§ 28-1331 and 42 U.S.C. § 12188 and 28 U.S.C. § 1367.
 4
 5   13. Plaintiff brings this action as a private attorney general who has been personally

 6      subjected to discrimination on the basis of his disability, see 42 U.S.C.12188
 7
        and 28 CFR §36.501.
 8
 9   14. Venue is proper pursuant to 28 U.S.C. § 1391.

10                        STANDING TO SUE JURISDICTION
11
     15. Plaintiff reviewed 3rd party and 1st party lodging websites to book an
12
13      ambulatory and wheelchair accessible room. Plaintiff was denied equal

14      opportunity to use and enjoyment of a critical public accommodation through
15
        Defendant’s acts of discrimination and segregation alleged below.
16
17   16. Plaintiff intends to book a room at the Defendant’s hotel once Defendant has
18      removed all accessibility barriers, including the ones not specifically referenced
19
        herein, and has fully complied with the ADA.
20
21   17. Because of Defendant’s denial of Plaintiff’s use and enjoyment of a critical
22      public accommodation through Defendant’s acts of discrimination and
23
        segregation, he is deterred from visiting that accommodation by accessibility
24
25      barriers and other violations of the ADA.
26   18. Defendant has denied Plaintiff -
27
28

                                            4
 1         a. The opportunity to participate in or benefit from the goods, services,

 2            facilities, privileges, advantages, or accommodations at its hotel.
 3
           b. The right to be included in the population at large who benefits from
 4
 5            Defendant’s hotel without being segregated because his disability.

 6   19. Plaintiff intends to book a room at Defendant’s hotel in the future but he will
 7
        likely suffer repeated injury unless and until the barriers of accessibility and
 8
 9      ambulatory and wheelchair accessibility barriers have been removed.

10                          CONTINUING JURISDICTION
11
     20. ADA violations which form the subject matter of this Verified Complaint
12
13      change frequently due to regular maintenance, remodels, repairs, and normal

14      wear and tear.
15
     21. Defendant’s ADA Violations are of the type that can reasonably be expected to
16
17      start up again, allowing Defendant to be free to return to the old ways' after the
18      threat of a lawsuit had passed.
19
     22. If one or more ADA violation are cured, Plaintiff alleges that they were cured
20
21      and timed to anticipate the current lawsuit, and not as a good faith effort to
22      comply with the ADA.
23
     23. To remedy the violations of 28 CFR 36.302(e), Defendant would be required
24
25      not only to modify all 1st and 3rd party lodging websites, but would be required
26      to do so truthfully and accurately.
27
28

                                              5
 1                                       COUNT ONE

 2                    Violation of Plaintiff’s Civil Rights under the ADA
 3
     24. Plaintiff realleges all allegations heretofore set forth.
 4
 5   25. By virtue of his disability, Plaintiff requires an ADA compliant lodging facility

 6      particularly applicable to his mobility, both ambulatory and wheelchair assisted.
 7
     26. On or about September 6, 2017 Plaintiff visited a 3rd party website
 8
 9      www.expedia.com to book a room.

10   27. 3rd party website disclosed general availability and description of Defendant’s
11
        hotel.
12
13   28. 3rd party website failed to identify and describe mobility related accessibility

14      features and guest rooms offered through its reservations service in enough
15
        detail to reasonably permit Plaintiff to assess independently whether
16
17      Defendant’s hotel meets his accessibility needs.
18   29. 3rd party website failed to disclose the following accessibility features in
19
        enough detail to reasonably permit Plaintiff to assess independently whether
20
21      Defendant’s hotel and guest rooms meets his accessibility needs:
22          a. Whether accessible routes comply with § 206 of the 2010 Standards; and
23
            b. Whether operable parts on accessible elements, accessible routes and
24
25               accessible rooms comply with §§205 and 803 of the 2010 Standards; and
26          c. Whether any accessible means of egress comply with §207 of the 2010
27
                 Standards.
28

                                              6
 1   d. Whether parking spaces comply with §§208 and 502 of the 2010

 2      Standards; and
 3
     e. Whether passenger loading zones comply with §§209 and 503 of the
 4
 5      2010 Standards; and

 6   f. Whether any drinking fountains comply with §211 of the 2010 Standards;
 7
        and
 8
 9   g. Whether any kitchens, kitchenettes and sinks comply with §§212 and 804

10      of the 2010 Standards; and
11
     h. Whether toilet facilities and bathing facilities comply with §213 of the
12
13      2010 Standards; and

14   i. Whether any washing machines and clothes dryers comply with §§214
15
        and 611 of the 2010 Standards; and
16
17   j. Whether accessible hotel rooms comply with §224 of the 2010 Standards;
18      and
19
     k. Whether dining surfaces and work surfaces comply with §§226 and 902
20
21      of the 2010 Standards; and
22   l. Whether sales and service elements comply with §227 of the 2010
23
        Standards; and
24
25   m. Whether any saunas and steam rooms comply with §§241 and 612 of the
26      2010 Standards; and
27
28

                                     7
 1   n. Whether any swimming pools, wading pools and spas comply with

 2      §§242 and 1009 of the 2010 Standards; and
 3
     o. Whether floor and ground surfaces comply with §302 of the 2010
 4
 5      Standards; and

 6   p. Whether changes in level comply with §303 of the 2010 Standards; and
 7
     q. Whether turning spaces comply with § 304 of the 2010 Standards; and
 8
 9   r. Whether floor and ground spaces comply with §305 of the 2010

10      Standards; and
11
     s. Whether knee and toes clearances comply with §306 of the 2010
12
13      Standards; and

14   t. Whether protruding objects comply with §307 of the 2010 Standards; and
15
     u. Whether the reach ranges comply with §308 of the 2010 Standards; and
16
17   v. Whether the operating parts on accessible features comply with §309 of
18      the 2010 Standards; and
19
     w. Whether accessible routes comply with §402 of the 2010 Standards; and
20
21   x. Whether walking surfaces comply with §403 of the 2010 Standards; and
22   y. Whether doors, doorways and gates comply with §404 of the 2010
23
        Standards; and
24
25   z. Whether ramps comply with § 405 of the 2010 Standards; and
26   aa. Whether curb ramps comply with §406 of the 2010 Standards; and
27
     bb. Whether any elevators comply with §407 of the 2010 Standards; and
28

                                   8
 1         cc. Whether any platform lifts comply with §410 of the 2010 Standards; and

 2         dd. Whether any stairways comply with §504 of the 2010 Standards; and
 3
           ee. Whether handrails on elements requiring handrails comply with §505 of
 4
 5             the 2010 Standards; and

 6         ff. Whether the plumbing facilities comply with Chapter 6 of the 2010
 7
               Standards with respect to all the following subchapters of Chapter 6: §§
 8
 9             602 (drinking fountains), 603 (toilets and bathing rooms), 604 (water

10             closets and toilet compartments, 605 (urinals), 606 (lavatories and sinks),
11
               607 (bathtubs), 607 (shower compartments), 608 (grab bars), 610 (seats
12
13             in bathtubs and shower compartments), and

14         gg. Whether service counters comply with 904 of the 2010 Standards.
15
     30. Thereafter,   Plaintiff    consulted    Defendant’s      1st   party     website
16
17      www.choicehotels.com to determine the information unavailable from the
18      third-party website.
19
     31. 1st party website failed to identify and describe mobility related accessibility
20
21      features and guest rooms offered through its reservations service in enough
22      detail to reasonably permit Plaintiff to assess independently whether
23
        Defendant’s hotel meets his accessibility needs.
24
25   32. In particular, 1st party website failed to disclose the following accessibility
26      features in enough detail to reasonably permit Plaintiff to assess independently
27
        whether Defendant’s hotel and guest rooms meets his accessibility needs:
28

                                            9
 1   a. Whether accessible routes comply with § 206 of the 2010 Standards; and

 2   b. Whether operable parts on accessible elements, accessible routes and
 3
        accessible rooms comply with §§205 and 803 of the 2010 Standards; and
 4
 5   c. Whether any accessible means of egress comply with §207 of the 2010

 6      Standards.
 7
     d. Whether parking spaces comply with §§208 and 502 of the 2010
 8
 9      Standards; and

10   e. Whether passenger loading zones comply with §§209 and 503 of the
11
        2010 Standards; and
12
13   f. Whether any drinking fountains comply with §211 of the 2010 Standards;

14      and
15
     g. Whether any kitchens, kitchenettes and sinks comply with §§212 and 804
16
17      of the 2010 Standards; and
18   h. Whether toilet facilities and bathing facilities comply with §213 of the
19
        2010 Standards; and
20
21   i. Whether any washing machines and clothes dryers comply with §§214
22      and 611 of the 2010 Standards; and
23
     j. Whether accessible hotel rooms comply with §224 of the 2010 Standards;
24
25      and
26   k. Whether dining surfaces and work surfaces comply with §§226 and 902
27
        of the 2010 Standards; and
28

                                     10
 1   l. Whether sales and service elements comply with §227 of the 2010

 2      Standards; and
 3
     m. Whether any saunas and steam rooms comply with §§241 and 612 of the
 4
 5      2010 Standards; and

 6   n. Whether any swimming pools, wading pools and spas comply with
 7
        §§242 and 1009 of the 2010 Standards; and
 8
 9   o. Whether floor and ground surfaces comply with §302 of the 2010

10      Standards; and
11
     p. Whether changes in level comply with §303 of the 2010 Standards; and
12
13   q. Whether turning spaces comply with § 304 of the 2010 Standards; and

14   r. Whether floor and ground spaces comply with §305 of the 2010
15
        Standards; and
16
17   s. Whether knee and toes clearances comply with §306 of the 2010
18      Standards; and
19
     t. Whether protruding objects comply with §307 of the 2010 Standards; and
20
21   u. Whether the reach ranges comply with §308 of the 2010 Standards; and
22   v. Whether the operating parts on accessible features comply with §309 of
23
        the 2010 Standards; and
24
25   w. Whether accessible routes comply with §402 of the 2010 Standards; and
26   x. Whether walking surfaces comply with §403 of the 2010 Standards; and
27
28

                                  11
 1         y. Whether doors, doorways and gates comply with §404 of the 2010

 2            Standards; and
 3
           z. Whether ramps comply with § 405 of the 2010 Standards; and
 4
 5         aa. Whether curb ramps comply with §406 of the 2010 Standards; and

 6         bb. Whether any elevators comply with §407 of the 2010 Standards; and
 7
           cc. Whether any platform lifts comply with §410 of the 2010 Standards; and
 8
 9         dd. Whether any stairways comply with §504 of the 2010 Standards; and

10         ee. Whether handrails on elements requiring handrails comply with §505 of
11
              the 2010 Standards; and
12
13         ff. Whether the plumbing facilities comply with Chapter 6 of the 2010

14            Standards with respect to all the following subchapters of Chapter 6: §§
15
              602 (drinking fountains), 603 (toilets and bathing rooms), 604 (water
16
17            closets and toilet compartments, 605 (urinals), 606 (lavatories and sinks),
18            607 (bathtubs), 607 (shower compartments), 608 (grab bars), 610 (seats
19
              in bathtubs and shower compartments), and
20
21         gg. Whether service counters comply with 904 of the 2010 Standards.
22   33. Thereafter Plaintiff called Defendant’s hotel to inquire whether it was
23
        compliant with the ADA and suitable for Plaintiff’s accessibility needs.
24
25   34. Plaintiff spoke with hotel reservations clerk, Mark. Plaintiff specifically
26      inquired whether Defendant’s hotel was compliant with the Americans with
27
        Disabilities Act and compliant with the specific requirements of accessibility.
28

                                          12
 1   35. Reservations clerk responded that the he did not know and that Plaintiff would

 2      have to call back tomorrow and speak with the manager..
 3
     36. Plaintiff subsequently visited the hotel to independently verify that it was, at
 4
 5      least on the outside, suitable to accommodate his disability.

 6   37. Plaintiff noted that the hotel was not compliant with the ADA and was replete
 7
        with accessibility barriers in the details which include, without limitation, the
 8
 9      following areas of non-compliance:

10      a. Accessible parking signs are improperly positioned; and
11
        b. Cross slope on accessible route next to soda machine is greater than 1:48,
12
13         making it inaccessible; and

14      c. Thresholds greater than 1/2 inch; and
15
        d. Curb ramp with a slope greater than 1:12; and
16
17      e. Insufficient landing less than 60 inches; and
18      f. Ramp impedes access aisle and parking spaces; and
19
        g. Unsecured carpet; and
20
21      h. Door handles require a twisting motion; and
22      i. There is no street access; and
23
        j. There is no access to back of the building; and
24
25      k. Front counter inaccessible; and
26      l. Other ADA violations to be discovered through a discovery process.
27
28

                                            13
 1   38. As a result of the deficiencies described above, Plaintiff declined to book a room

 2      at the hotel.
 3
     39. The removal of accessibility barriers listed above is readily achievable.
 4
 5   40. As a direct and proximate result of ADA Violations, Defendant’s failure to

 6      remove accessibility barriers prevented Plaintiff from equal access to the
 7
        Defendant’s public accommodation.
 8
 9   WHEREFORE, Plaintiff prays for all relief as follows:

10          A. Relief described in 42 U.S.C. §2000a – 3; and
11
            B. Relief described in 42 U.S.C. § 12188(a) and (b) and, particularly -
12
13          C. Injunctive relief order to alter Defendant’s place of public

14             accommodation to make it readily accessible to and usable by ALL
15
               individuals with disabilities; and
16
17          D. Requiring the provision of an auxiliary aid or service, modification of a
18             policy, or provision of alternative methods, to the extent required by
19
               Subchapter III of the ADA; and
20
21          E. Equitable nominal damages in the amount of $1.00; and
22          F. For costs, expenses and attorney’s fees; and
23
            G. All remedies provided for in 28 C.F.R. 36.501(a) and (b).
24
25                                       COUNT TWO
                                          Negligence
26
27   41. Plaintiff realleges all allegations heretofore set forth.
28

                                             14
 1   42. Defendant had a duty to Plaintiff to remove ADA accessibility barriers so that

 2        Plaintiff as a disabled individual would have full and equal access to the public
 3
          accommodation.
 4
 5   43. Defendant breached this duty.

 6   44. Defendant is or should be aware that, historically, society has tended to isolate
 7
          and segregate individuals with disabilities, and, despite some improvements,
 8
 9        such forms of discrimination against individuals with disabilities continue to be

10        a serious and pervasive social problem1.
11
     45. Defendant knowingly and intentionally participated in this historical
12
13        discrimination against Plaintiff, causing Plaintiff damage.

14   46. Discrimination against individuals with disabilities persists in the use and
15
          enjoyment of critical public accommodations 2.
16
17   47. Defendant’s knowing and intentional persistence in discrimination against
18        Plaintiff is alleged, causing Plaintiff damage.
19
     48. Individuals with disabilities, including Plaintiff, continually encounter various
20
21        forms of discrimination, including outright intentional exclusion, the
22        discriminatory effects of architectural, overprotective rules and policies, failure
23
          to make modifications to existing facilities and practices, exclusionary
24
25
26
     1
27       42 U.S.C. § 12101(a)(2)
     2
28       42 U.S.C. §12101(a)(3)

                                              15
 1        qualification standards and criteria, segregation, and relegation to lesser

 2        services, programs, activities, benefits, jobs, or other opportunities3.
 3
     49. Defendant’s knowing and intentional discrimination against Plaintiff reinforces
 4
 5        above forms of discrimination, causing Plaintiff damage.

 6   50. Census data, national polls, and other studies have documented that people
 7
          with disabilities, as a group, occupy an inferior status in our society, and are
 8
 9        severely disadvantaged socially, vocationally, economically, and

10        educationally4.
11
     51. Defendant’s knowing and intentional discrimination has relegated Plaintiff to
12
13        an inferior status in society, causing Plaintiff damage.

14   52. The Nation’s proper goals regarding individuals with disabilities are to assure
15
          equality of opportunity, full participation, independent living, and economic
16
17        self-sufficiency for such individuals 5.
18   53. Defendant’s knowing and intentional discrimination has worked counter to our
19
          Nation’s goals of equality, causing Plaintiff damage.
20
21   54. Continued existence of unfair and unnecessary discrimination and prejudice
22        denies people with disabilities the opportunity to compete on an equal basis and
23
          to pursue those opportunities for which our free society is justifiably famous,
24
25
     3
26       42 U.S.C. §12101(a)(5)
     4
27       42 U.S.C. §12101(a)(6)
     5
28       42 U.S.C. §12101(a)(7)

                                              16
 1        and costs the United States billions of dollars in unnecessary expenses resulting

 2        from dependency and nonproductivity6.
 3
     55. Defendant’s knowing and intentional unfair and unnecessary discrimination
 4
 5        against Plaintiff demonstrates Defendant’s knowing and intentional damage to

 6        Plaintiff.
 7
     56. Defendant’s breach of duty caused Plaintiff damages including, without
 8
 9        limitation, the feeling of segregation, discrimination, relegation to second class

10        citizen status the pain, suffering and emotional damages inherent to
11
          discrimination and segregation and other damages to be proven at trial.
12
13   57. By violating Plaintiff’s civil rights, Defendant engaged in intentional,

14        aggravated and outrageous conduct.
15
     58. The ADA has been the law of the land since 1991, but Defendant engaged in a
16
17        conscious action of a reprehensible character, that is, Defendant denied Plaintiff
18        his civil rights, and cause him damage by virtue of segregation, discrimination,
19
          relegation to second class citizen status the pain, suffering and emotional
20
21        damages inherent to discrimination and segregation and other damages to be
22        proven at trial
23
24
25
26
27
     6
28       42 U.S.C. §12101(a)(8)

                                             17
 1   59. Defendant either intended to cause injury to Plaintiff or defendant consciously

 2      pursued a course of conduct knowing that it created a substantial risk of
 3
        significant harm to Plaintiff.
 4
 5   60. Defendant is liable to Plaintiff for punitive damages in an amount to be proven

 6      at trial sufficient, however, to deter this Defendant and others similarly situated
 7
        from pursuing similar acts.
 8
 9   WHEREFORE, Plaintiff prays for relief as follows:

10         A. For finding of negligence; and
11
           B. For damages in an amount to be proven at trial; and
12
13         C. For punitive damages to be proven at trial; and

14         D. For such other and further relief as the Court may deem just and proper.
15
           RESPECTFULLY SUBMITTED this 12th day of September, 2017.
16
17                                       STROJNIK, P.C.
18
19
                                         Peter Strojnik, 6464
20
                                         Attorneys for Plaintiff
21
                                         VERIFICATION
22
23   Plaintiff verifies that he has read the forgoing and that the factual allegations stated
     above are true and correct to the best of his knowledge, information and belief.
24
     Plaintiff makes this verification under the penalty of perjury.
25
26
                                         /s/ Fernando Gastelum
27                                       Authorized Electronically
28

                                              18
